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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 1:17−cr−00173
                                                        Honorable John Robert Blakey
Anthony Williams, et al.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, November 16, 2021:


        MINUTE entry before the Honorable John Robert Blakey: Based upon the emailed
correspondence received from Defendant Anthony Williams (1) on 11/15/2021,
telephonic status hearing set for 11/23/2021 at 1:00 p.m. in Courtroom 1203. Counsel
shall call into 877−402−9753 and utilize participant code 9955840. The Court will make
Mr. Williams available by telephone. Mailed notice (gel, )




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